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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________
THE NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC.,                                                  20-CV-00889 (MAD)(TWD)

                             Plaintiff,
              v.                                                   NOTICE OF MOTION
                                                                   TO DISMISS THE
LETITIA JAMES, both individually and in                            AMENDED COMPLAINT
her official capacity,
                                                                   Filed on ECF
                        Defendant.
_______________________________________________


       PLEASE TAKE NOTICE, that upon the Amended Complaint and all prior proceedings

filed herein, the accompanying declaration of Assistant Attorney General Monica Connell and

exhibits thereto, and the accompanying Memorandum of Law in Support of Attorney General

Letitia James’ Motion to Dismiss the Amended Complaint, the undersigned, on behalf of

Defendant LETITIA JAMES, Attorney General of the State of New York, will move this Court

before the Honorable Mae A. D’Agostino, on January 5, 2021 or such other date and time as is

determined by the Court, at the United States District Courthouse located at the United States

District Court, Northern District of New York, James T. Foley U.S. Courthouse, 445 Broadway,

Albany, NY 12207, for an order pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

Civil Procedure dismissing the Amended Complaint with prejudice, and for such further relief as

the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that, in the absence of a different date set by the

Court, pursuant to Local Rule 7.1 of the Local Rules of Practice for the Northern District of New




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York, plaintiff’s opposition to this motion, if any, is due at least seventeen days before the return

date of this motion.

Dated:    New York, New York
          November 20, 2020


                                                      Respectfully submitted,

                                                      LETITIA JAMES
                                                      Attorney General of the
                                                       State of New York
                                                      By:

                                                      ________________________
                                                      Monica Connell
                                                      Assistant Attorney General
                                                      28 Liberty Street
                                                      New York, New York 10005
                                                      (212) 416-8965
                                                      Monica.Connell@ag.ny.gov




To:      All Counsel of Record (via ECF)




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